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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


  VIRGINIA COALITION FOR                               )
     IMMIGRANT RIGHTS, et al.                          )
                                                       )
                 Plaintiffs,                           )
                                                       )
         V.                                            )   Civil Action No. 1:24-cv-I778 (PTG/WBP)
                                                       )
  SUSAN BEALS,                                         )
  in her oiffcial capacity as Virginia                 )
      Commissioner of Elections, et al.                )
                                                       )
                 Defendants.                           )

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  UNITED STATES OF AMERICA,                            )
                                                       )
                 Plaintif,f                            )
                                                       )
         V.                                            )   Civil Action No. 1:24-cv-l 807 (PTG/WBP)
                                                       )
  COMMONWEALTH OF VIRGINIA, et al,                     )
                                                       )
                 Defendants.                           )
                                                       )


                                              ORDER


        This matter is before the Court on Motions for Preliminary Injunction (Dkt. 26; Civil

 Action No. 1:24-cv-l 807, Dkt. 9) filed by the Virginia Coalition for Immigrant Rights, the League

 of Women Voters of Virginia, the League of Women Voters of Virginia Education Fund, African

 Communities Together, and the United States (“Plaintiffs”).

         To receive a preliminary injunction. Plaintiffs bear the burden of establishing: (1) they are

 likely to succeed on the merits of the case; (2) they are likely to suffer irreparable harm in the


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 absence of injunctive relief; (3) the balance of equities tips in their favor; and (4) an injunction

 would be in the public interest. Winter v. Nat. Res. De.f Council, Inc., 555 U.S. 7, 20 (2008); Roe

 V.   Dept, of Defense, 947 F.3d 207, 219 (4th Cir. 2020).

           For the reasons stated in open court, the Court finds that Plaintiffs have established the four

 elements of the Winter test for preliminary injunctive relief.

           Accordingly, it is hereby

           1.     ORDERED that Plaintiffs’ Motions for Preliminary Injunction (Dkt. 26; Civil

 Action No. l:24-cv-1807, Dkt. 9) are GRANTED in part and DENIED in part; it is further

           2.     ORDERED that the Commonwealth of Virginia, the Virginia State Board of

 Elections, and Susan Beals, John O’Bannon, Rosalyn Dance, Georgia Alvis-Long, Donald

 Merricks, and Matthew Weinstein in their official capacities (“Defendants”), along with their

 agents, are enjoined from continuing any systematic program intended to remove the names of

 ineligible voters from registration lists less than 90 days before the November 5, 2024, federal

 General Election, although this does not preclude removal of names from the official list of voters

 at the request of the registrant, by reason of criminal conviction or mental incapacity (as provided

 by Virginia law), individual correction, or by reason of the death of the registrant; and it is further

           3.     ORDERED that Defendants and their agents restore voter registration of

 registrants cancelled pursuant to Defendants’ Program after August 7, 2024, unless the registrant

 (1) subsequently submits a voter removal request, or (2) is subject to removal by reason of criminal

 conviction or mental incapacity (as provided by Virginia law), or by reason of the death of the

 registrant; it is further

           4.     ORDERED that within five (5) days of this Order, Defendants and their agents

 issue guidance to county registrars in every local jurisdiction in Virginia to immediately restore


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 the voter registration records of registrants removed pursuant to Defendants' Program, so long as

 those individuals (1) did not subsequently submit a voter removal request, or (2) are not subject to

 removal by reason of criminal conviction or mental incapacity (as provided by Virginia law), or

 by reason of the death of the registrant; it is further

          5.        ORDERED that within five (5) days of this Order, Defendants and their agents

 provide a remedial mailing to each registrant described in Paragraph 3:

               a.   Informing the registrant that their voter registration has been restored to the voter

                    rolls;

               b.   Explaining that the registrant may cast a regular ballot on Election Day in the same

                    manner as other eligible voters;

               c.   Advising the registrant that cancellation of their registration pursuant to the

                    purported noncitizen removal program after August 7, 2024, does not in itself

                    establish that they are ineligible to vote or subject to criminal prosecution or any

                    other penalty for registering to vote or for voting; and

               d.   Advising registrants who are not U.S. citizens that they remain ineligible to cast a

                    ballot in Virginia elections; it is further

          6.        ORDERED that within five (5) days of this Order, Defendants and their agents

 shall:


               a.   Post template copies of the remedial mailing described in Paragraph 5, along with

                    a copy of this Order, on the website of the Virginia Department of Elections; and

               b.   Issue a press release in the customary manner of the Department of Elections that

                    announces this Court’s Order; it is further




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         7.      ORDERED that within five (5) days of this Order, Defendants and their agents

 make all reasonable and practicable efforts to educate local officials, poll workers, and the general

 public on Defendants’ program, the restoration of the voter registrations of impacted voters, and

 the ability of impacted voters to cast a regular ballot without submitting supplemental paperwork

 or documentation. Such efforts shall include the tracking of poll worker training in all 95 counties

 and independent cities in the Commonwealth concerning cessation of the purported noncitizen

 removal program and the remedial actions required by this Order; it is further

                 ORDERED that within five (5) days of this Order, Defendants shall submit to this

 Court under seal a report detailing every voter registration cancelled on or after August 8, 2024,

 to the present. That report shall include the voter’s full name (including first, middle, and last

 names and any suffixes), address, voter identification number, social security number (if

 available), driver’s license number (if available), date of voter registration, date of cancellation.

 and reason for cancellation; it is further

        9.      ORDERED that Defendants’ authority or ability to cancel the voter registration of

 noncitizens through individualized review is not limited by this Order. Nor does this Order limit

 Defendants’ authority or ability to investigate noncitizens who register to vote or who vote in

 Virginia’s elections. The preliminary injunction applies only to Defendants’ systematic Program

 which occurred after August 7, 2024; it is further

         10.    ORDERED that the Motions for Preliminary Injunction (Dkt. 26; Civil Action No.

 l;24-cv-1807, Dkt. 9) are DENIED in all other respects; and it is further

         11.    ORDERED that this injunction expires on the day after the 2024 General Election.


 Entered this 25th day of October, 2024.                                     a     V
 Alexandria, Virginia                                            Patricia Tolliver Giles
                                                                 United States District Judge

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